                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )       No. 12-03066-08-CR-S-RTD
                                                    )
JAMIE J. LYNAM,                                     )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One, Three

and Seventeen and admitted to Forfeiture Allegation contained in the Third Superseding

Indictment filed on June 12, 2013, is now Accepted and the Defendant is Adjudged Guilty of such

offense. Sentencing will be set by subsequent Order of the Court.




                                                          /s/ Robert T. Dawson
                                                         ROBERT T. DAWSON
                                                    UNITED STATES DISTRICT JUDGE




Date: January 2, 2014




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